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                                    ORDERED.


         Dated: March 22, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:

DAVID ARNOLD REED, JR.,                           Case No.: 8:19-bk-00547-CPM
                                                  Chapter: 7
          Debtor.
                                              /

              ORDER GRANTING VERIFIED MOTION FOR RELIEF FROM
           AUTOMATIC STAY FILED BY THE BANK OF NEW YORK MELLON
           F/K/A THE BANK OF NEW YORK AS SUCCESSOR IN INTEREST TO
           JP MORGAN CHASE BANK, N.A. AS TRUSTEE FOR BEAR STEARNS
              ALT-A TRUST, MORTGAGE PASS-THROUGH CERTIFICATES
          SERIES 2005-7 BY NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER
          THIS CASE came on for consideration upon the Verified Motion for Relief from

Automatic stay filed by THE BANK OF NEW YORK MELLON F/K/A THE BANK OF NEW

YORK as successor in interest to JP Morgan Chase Bank, N.A. as Trustee for Bear Stearns ALT-

A Trust, Mortgage Pass-Through Certificates Series 2005-7 by Nationstar Mortgage LLC d/b/a

Mr. Cooper (the “Secured Creditor”) (Doc. No. 8) (the “Motion”), pursuant to the negative

notice provisions of Local Rule 2002-4. Having considered the Motion and the absence of any

record objection to the relief requested, the Court deems the Motion to be uncontested. The

Court makes no determination that the Debtor has defaulted on the underlying obligation.

Accordingly, it is
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       ORDERED:

       1.      The Motion is granted.

       2.      The automatic stay arising by reason of 11 U.S.C. § 362 is terminated as to

Secured Creditor’s interest in the real property located at 10513 Greenssprings Drive, Tampa,

Florida 33626 (the “Property”), legally described as:




       3.      The Order Granting Relief from Stay is entered for the sole purpose of allowing

Secure Creditor, its successors and/or assigns, to complete in rem relief to take any and all steps

necessary to exercise any rights it may have in the Property and to gain possession of said

Property. Secured Creditor does not have in personam relief against the Debtor.

       4.      The relief granted here permits Secured Creditor, its successors and/or assigns, to

commence and/or continue through judgment, sale, certificate of title and possession, a

foreclosure against the Property described above.

       5.      Secured Creditor’s request for attorney’s fees and costs in the amount of $450.00

and costs of $181.00 is granted.

       6.      Secured Creditor’s request to waive the 14-day stay period pursuant to

Bankruptcy Rule 4001(a)(3) is granted.


Attorney Austin Noel is directed to serve a copy of this order on interested parties who are non-
CM/ECF users and file a proof of service within three days of entry of the order.
